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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Hadi Abuatelah
                              Plaintiff,
v.                                                   Case No.: 1:22−cv−03998
                                                     Honorable Steven C. Seeger
Officer One, et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 5, 2023:


        MINUTE entry before the Honorable Steven C. Seeger: The motion to withdraw
as counsel (Dckt. No. [70]) is granted. Attorney Emma Melton is terminated as counsel of
record. Mailed notice. (jjr, )




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